Case 1:15-cr-00095-WFK Document 341 Filed 07/30/19 Page 1 of 2 PageID #: 1680




LAWRENCE MARK STERN, Attorney At Law
         100 Hudson Street, #6A, New York, New York 10013
                   212-925-6863 fax 212-925-6850 lmstern@verizon.net
__________________________________________________________________

                                           July 30, 2019



Hon. William F. Kuntz
United States District Court           Re: United States v. Juraboev, et.al.,
Eastern District of New York               Azizjon Rakhmatov, defendant
225 Cadman Plaza East                            15-95 WFK
Brooklyn, New York 11201
Dear Judge Kuntz,

                 This letter requests, with the consent of the government, the
Court’s authorization to defense counsel for codefendants Rakhmatov and
Kazimov in the above referenced case, to share the motions they have filed under
seal on each defendant’s behalf. The authorization, pursuant to the Court’s
protective order of October 3, 2017, would cover the motions drafted by counsel
and any attached exhibits, other than affidavits by government agents or other
materials prepared by the government.

                  Defendants are joined for trial, therefore their individual
defenses and strategies must take into account those of the codefendant, lest
prejudice to due process fair trial rights ensue.

                  Motions referring to classified materials would be shared
pursuant the specialized delivery procedures applicable to them.

                    It is submitted that the Court’s endorsment on this letter would
suffice to direct the parties.


                 Thank you for your attention.

                                             Respectfully,

                                              S/ Lawrence Mark Stern
                                              LAWRENCE MARK STERN
                                              Attorney for Azizjon Rakhmatov

cc: Elizabeth Macedonio
    Kelley Sharkey
Case 1:15-cr-00095-WFK Document 341 Filed 07/30/19 Page 2 of 2 PageID #: 1681



   Attorneys for defendant Kasimov

   David Kessler, AUSA
   Douglas Pravda, AUSA
